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              Exhibit 1
                    Case 3:07-cv-05800-SC Document 283-2 Filed 10/30/10 Page 2 of 30




From:                   Moriarty, Annie [annie.moriarty@kyl.com]
Sent:                   Thursday, May 13, 2010 12:01 PM
To:                     Adel Nadji
Cc:                     Taylor, Julie
Subject:                Crab Settlement
Attachments: Crew List - Class.xls$; Crab boat Claimants' Addresses 12 May 2010.xls$
Adel,

There was a misunderstanding with regard to the crab data previously provided. The prior lists did not
include owners/crew members for boats that were represented by your office or Cotchett, Pitre and
McCarthy. Attached please find supplemental lists containing the contact information of the crab boat
owners and crew members that were inadvertently omitted from the lists previously provided.

I assume you will provide these lists to Gilardi. We understand this information is to be used solely for the
purpose of providing notice to the class of the settlement and for no other purpose.

Also, I received your email requesting an outline of the process that skippers need to go through in order
to finalize their Dungeness Crab Closure Claims. Would you please give me a call to discuss? I am
unclear on why you need that information for purposes of sending out the notice.

Regards,
Annie


...........................................................................................................................
Annie Moriarty
Keesal, Young & Logan
450 Pacific Avenue, San Francisco, CA 94133
415.398.6000 (office) | 415.981.0136 (fax)
annie.moriarty@kyl.com | www.kyl.com
KYL has offices in Los Angeles/Long Beach, San Francisco, Seattle, Anchorage and Hong Kong. This e-mail contains
information that may be confidential and privileged. Unless you are the addressee (or authorized to receive messages for
the addressee), you may not use, copy or disclose this message, or any information contained herein. If you have
received this message in error, please advise the sender by reply e-mail and delete this message. Nothing in this
message should be interpreted as a digital or electronic signature that can be used to authenticate a contract or legal
document. Unauthorized use of this information in any manner is prohibited.
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              Exhibit 2
            Case 3:07-cv-05800-SC Document 283-2 Filed 10/30/10 Page 4 of 30



From:               Kole, Julie [Julie.Kole@kyl.com]
Sent:               Thursday, October 28, 2010 11:46 AM
To:                 Adel Nadji; Moriarty, Annie
Cc:                 Taylor, Julie; Stuart Gross; William Audet
Subject:            RE: Loretz v. Regal Stone, Ltd. et al.


Adel:

There are 27 skippers in the settlement class. The OPA 90 data for the skipper class
members is as follows:

(1) The highest OPA 90 payment made to a skipper class member is $218,466.13.

(2) The lowest OPA 90 payment made to a skipper class member is $2,225.96.

(3) The average OPA 90 payment made to a skipper class member is $43,013,46.

(4) The total amount of OPA 90 payments made to skipper class members is $1,161,363.43. Of
that amount, $510,749.52 was paid to named class representatives.

(5) There are 8 skipper class members who were represented by counsel.
Six of those class members were represented by the Audet or Cotchett firms.    We do not
have any way to determine the amount of attorneys'
fees that may have been paid by those 8 class members.

(6) There were 3 clean up reduction payments made to class members.
Those payments were in the following amounts: $1,294.47, $1,267.00 and $1,265.83.    The 3
clean up reduction payments were made to named class representatives.

Julie
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              Exhibit 3
                                      Case 3:07-cv-05800-SC Document 283-2 Filed 10/30/10 Page 6 of 30
                                                                                                                                                                       10/6/2010




                                                    Commercial Fishing Licenses and Permits
                                                                    Items reported by License Year
                                                                        As Of August 31, 2010
                    Licenses                     2001        2002          2003          2004         2005         2006         2007         2008         2009         2010
COMM FISHING LICENSE (R)                            N/A         N/A             N/A          6,325      5,958        5,682        5,780        5,346        5,464         4,413
COMM FISHING LICENSE (NR)                           1,055           961           931           859          771          677          684          664          680          386
COMM BOAT REGISTRATION (R)                          4,155      3,680           3,506         3,326      3,205        3,062        3,003        2,916        2,873         2,658
COMM BOAT REGISTRATION (NR)                          429            361           325           304          290          288          291          301          288          265
COMM PASSENGER FISHING VESSEL                        416            433           432           450          451          445          450          431          434          427
COMM AIRCRAFT REGISTRATION                              10          12            14            12            10            6            7            9            8           11
COMM SALMON STAMP (SEE FOOTNOTE 1)                  1,839      1,865           1,720         1,764      1,697        1,557        2,174        1,308        1,244         1,303
JOHN DOE SALMON STAMP (SEE FOOTNOTE 2)               295            345           259           335          299          172          795          102          33           93
OCEAN ENHANCEMENT                                    798            810           807           785          818          794          788          793          795          749
CALIFORNIA HALIBUT TRAWL VESSEL PERMIT              N/A         N/A             N/A           N/A        N/A               62           59           52           51           47
DEEPER NEARSHORE SPECIES FISHERY PERMIT             N/A         N/A               293           276          259          249          239          231          220          209
DRIFT GILL NET SHARK/SWORDFISH PERMIT                114            106           100           96           90           88           86            84           83           78
DUNGENESS CRAB VESSEL PERMIT (R)                     588            577           573           537          526          518          505          508          502          493
DUNGENESS CRAB VESSEL PERMIT (NR)                       66          65            61             73           77           84           87           81           78           72
GENERAL GILL/TRAMMEL NET PERMIT                      223            209           193           187          172          166          160          154          149          143
HERRING GILL NET PERMIT(NR)                          119            118           111           106          97           60           46           45            42           0
HERRING GILL NET PERMIT(R)                           333            329           320           308          289          254          211          199          188           0
HERRING STAMP                                        409            404           390           374          346          274          220          209          200           0
LOBSTER OPERATOR PERMIT                              247            237           228           223          220          214          212          204          203          195
MARKET SQUID BRAIL PERMIT (T)                       N/A         N/A             N/A           N/A             14           16           20           21           21           21
MARKET SQUID BRAIL PERMIT (NT)                      N/A         N/A             N/A           N/A              0            0            0            0            0            0
MARKET SQUID LIGHT BOAT PERMIT (T)                  N/A         N/A             N/A           N/A             61           59           55           54           54           54
MARKET SQUID LIGHT BOAT PERMIT (NT)                 N/A         N/A             N/A           N/A        N/A          N/A                3            3            3            3
MARKET SQUID VESSEL PERMIT (T)                      N/A         N/A             N/A           N/A             75           74           74           77           71           71
MARKET SQUID VESSEL PERMIT (NT)                     N/A         N/A             N/A           N/A             14           12           12           11            9            9
MARKET SQUID VESSSEL PERMIT, EXPERIMENTAL (NT)      N/A         N/A             N/A           N/A              3            3            2            0            0            0
NEARSHORE FISHERY BYCATCH PERMIT                    N/A         N/A                26            25           23           22           20           19           19           16
NEARSHORE FISHERY PERMIT - N. CENTRAL COAST         N/A         N/A                36            36           35           33           29           29           28           28
NEARSHORE FISHERY PERMIT - NORTH COAST              N/A         N/A                29            28           27           27           26           26           22           22
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                                                                                                                                                                             10/6/2010




                                                       Commercial Fishing Licenses and Permits
                                                                       Items reported by License Year
                                                                           As Of August 31, 2010
                     Licenses                       2001        2002          2003           2004           2005         2006         2007         2008         2009         2010
NEARSHORE FISHERY PERMIT - S. CENTRAL COAST            N/A         N/A                76             69             70           65           61           60           59           57
NEARSHORE FISHERY PERMIT - SOUTH COAST                 N/A         N/A                74             71             70           68           64           63           63           64
NEARSHORE TRAP ENDORSEMENT - N. CENTRAL COAST          N/A         N/A                   5              5            5            5            5            5            5            5
NEARSHORE TRAP ENDORSEMENT - NORTH COAST               N/A         N/A                   1              0            0            0            0            0            0            0
NEARSHORE TRAP ENDORSEMENT - S. CENTRAL COAST          N/A         N/A                21             20             20           20           20           20           20           19
NEARSHORE TRAP ENDORSEMENT - SOUTH COAST               N/A         N/A                45             43             42           42           42           42           41           40
NORTHERN PINK SHRIMP TRAWL (VESSEL) (T)                    61          66            65             38              36           34           34           34           33           33
NORTHERN PINK SHRIMP TRAWL (VESSEL) (NT)                   17          14            13                 9            7            6            4            4            4            3
SALMON VESSEL PERMIT (SEE FOOTNOTE 3)                  1,650      1,586           1,521         1,475         1,426        1,389        1,359        1,306        1,281         1,215
SEA CUCUMBER DIVING PERMIT                                 99          100           99             95             92            91           88           85           85           83
SEA CUCUMBER TRAWL PERMIT                                  30          29            28             24              22           18           18           17           17           17
SEA URCHIN DIVING PERMIT                                389         363              349            340            332          323          309          310          305          282
SOUTHERN ROCK CRAB TRAP PERMIT                         N/A         N/A             N/A           N/A               143          141          134          130          126          122
SPOT PRAWN TRAP VESSEL PERMIT, TIER 1                  N/A              18            16             16             17           17           18           17           17           17
SPOT PRAWN TRAP VESSEL PERMIT, TIER 2                  N/A               5               6              3            3            3            3            3            3            3
SPOT PRAWN TRAP VESSEL PERMIT, TIER 3                  N/A         N/A             N/A                  8           11           10           10            9            9            7
LIMITED ENTRY LATE FEE (1 TO 30 DAYS)                  N/A         N/A             N/A           N/A           N/A          N/A          N/A               52           58           63
LIMITED ENTRY LATE FEE (31 TO 60 DAYS)                 N/A         N/A             N/A           N/A           N/A          N/A          N/A               16           30           22
LIMITED ENTRY LATE FEE (61 OR MORE DAYS)               N/A         N/A             N/A           N/A           N/A          N/A          N/A               50           62            8
ANCHOVY TAKE PERMIT                                     141         116              99             96             88           73           85            80           74           70
BAY SHRIMP PERMIT                                          35          35            28             22              21           21           19           16           20           19
COONSTRIPE SHRIMP VESSEL PERMIT                        N/A              11            36             36             28           32           30           34           44           46
CRAYFISH PERMIT                                            54          48            51             42              40           53           43           50           52           43
FISH LANDED OUTSIDE CALIFORNIA                             14          14            11                 8           10           16           11            7            7            5
GHOST SHRIMP PERMIT                                        36          27            26             18               9           10           10           14           17           11
GOLDEN & RIDGEBACK PRAWN PERMIT                         177         145              112            78             57           57           47           44            51           55
INLAND/FRESHWATER FISH                                     28          31            44             36              31           30           31           24           28           29
KELP HARVESTER LICENSE                                     28          35            44             35              35           29           30           43           33           36
LOBSTER CREWMEMBER PERMIT                               197         204              175            143            148          175          173          203          197          44
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                                                                                                                                                                           10/6/2010




                                                    Commercial Fishing Licenses and Permits
                                                                     Items reported by License Year
                                                                         As Of August 31, 2010
                      Licenses                   2001         2002          2003           2004           2005         2006         2007         2008         2009         2010
MARINE AQUARIA COLLECTOR                                10           10                9           12             10            9            8           12           16           11
NORTHERN ROCK CRAB TRAP PERMIT                      N/A          N/A             N/A           N/A                31           17           22           32           29           32
SEA URCHIN CREWMEMBER PERMIT                         222          203              194            160            139          131          136          167          163          135
SOUTHERN PINK SHRIMP TRAWL PERMIT                       56           57            46              38             35           21           21           18           16           19
SWORDFISH PERMIT                                        40           41            45              56             57           64           73           63           63           54
TANNER CRAB TRAP VESSEL PERMIT                      N/A          N/A             N/A           N/A           N/A                0            0            0            0             0
TIDAL INVERTEBRATE PERMIT                            396          364              349            343            317          304          288          254          255          213
TRAP PERMIT                                          870          903              817            751            660          737          850          950          904          772
DISCONTINUED ITEMS:
COMM FISHING - CREWMEMBER (R)                      3,687        3,553           3,473             NA         N/A          N/A          N/A          N/A          N/A           N/A
COMM FISHING - OPERATOR (R)                        3,536        3,472           3,261          N/A           N/A          N/A          N/A          N/A          N/A           N/A
COMM FISHING - CREWMEMBER UPGRADE (R)                   72           62            57          N/A           N/A          N/A          N/A          N/A          N/A           N/A
COMM PASSENGER FISHING VESSEL W/SALMON                  34           39            32          N/A           N/A          N/A          N/A          N/A          N/A           N/A
FINFISH TRAP PERMIT                                  123          112              67             45         N/A          N/A          N/A          N/A          N/A           N/A
JUNIOR COMM FISH LICENSE                                45           55            51          N/A           N/A          N/A          N/A          N/A          N/A           N/A
JUNIOR COMM SALMON STAMP                                13       N/A             N/A           N/A           N/A          N/A          N/A          N/A          N/A           N/A
LIMITED ENTRY LATE FEE                                  92           72            107            77             104          91           98       N/A          N/A           N/A
MARKET SQUID LIGHT BOAT OWNER'S PERMIT                  45           41            40             40         N/A          N/A          N/A          N/A          N/A           N/A
MARKET SQUID VESSEL PERMIT                           196          184              174            166        N/A          N/A          N/A          N/A          N/A           N/A
MARKET SQUID/LIGHT VESSEL LATE FEE                      15             6            15                6      N/A          N/A          N/A          N/A          N/A           N/A
MARKET SQUID LATE FEE                               N/A          N/A             N/A           N/A                 3           10            9            6      N/A           N/A
NEARSHORE FISHERY PERMIT                             767          508            N/A           N/A           N/A          N/A          N/A          N/A          N/A           N/A
NORTHERN PINK SHRIMP TRAWL PERMIT (INDIVIDUAL)          25           15          N/A           N/A           N/A          N/A          N/A          N/A          N/A           N/A
PACIFIC MACKEREL PERMIT                              135         N/A             N/A           N/A           N/A          N/A          N/A          N/A          N/A           N/A
PINK SHRIMP PERMIT (INDIVIDUAL)                     N/A          N/A             N/A           N/A           N/A          N/A          N/A          N/A          N/A           N/A
PINK SHRIMP PERMIT (VESSEL)                         N/A          N/A             N/A           N/A           N/A          N/A          N/A          N/A          N/A           N/A
SALMON VESSEL LATE FEE                               115          113              137            108            94           85             0      N/A          N/A           N/A
SARDINE PERMIT                                            3      N/A             N/A           N/A           N/A          N/A          N/A          N/A          N/A           N/A
SHRIMP/PRAWN TRAWL PERMIT                           N/A          N/A             N/A           N/A           N/A          N/A          N/A          N/A          N/A           N/A
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                                                                                                                                                                                                                       10/6/2010




                                                                               Commercial Fishing Licenses and Permits
                                                                                                Items reported by License Year
                                                                                                    As Of August 31, 2010
                            Licenses                                     2001            2002            2003            2004           2005            2006            2007            2008           2009            2010
SPOT PRAWN OBSERVER TRAP                                                      N/A             N/A             N/A             N/A            N/A             N/A             N/A             N/A             N/A           N/A
SPOT PRAWN OBSERVER TRAWL (<1,000 LBS. )                                      N/A             N/A             N/A             N/A            N/A             N/A             N/A             N/A             N/A           N/A
SPOT PRAWN OBSERVER TRAWL (1,000-9,999 LBS.)                                  N/A             N/A             N/A             N/A            N/A             N/A             N/A             N/A             N/A           N/A
SPOT PRAWN OBSERVER TRAWL (>10,000 LBS.)                                      N/A             N/A             N/A             N/A            N/A             N/A             N/A             N/A             N/A           N/A
TOTAL                                                                      24,549          23,169          22,173          20,961          20,040         19,095          20,191          18,117          17,949         15,420


Footnotes:
1) Commercial Salmon Stamp - In 2006, refunds were issued for 1,542 permittees. In 2007, the fees were waived. In 2008, refunds were issued for 1,278 permittees. In 2009, refunds were issued for 1,183 permittees.
2) John Doe Salmon Stamp - In 2006, refunds were issued for 166 permittees. In 2007, the fees were waived. In 2008, refunds were issued for 102 permittees. In 2009, refunds were issued for 34 permittees.
3) Salmon Vessel Permit - In 2006, refunds were issued for 1,376 permittees. In 2007, the fees were waived. In 2008, refunds were issued for 1,282 permittees. In 2009, refunds were issued for 1,228 permittees.
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               Exhibit 4
           Case 3:07-cv-05800-SC Document 283-2 Filed 10/30/10 Page 11 of 30




REDACTE                                                                        REDACTED

REDACTED


REDACTED

REDACT



REDACTED

REDACTED


REDACTED


REDACTED


REDACTED

REDACTED
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               Exhibit 5
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               Exhibit 6
                                                              Case 3:07-cv-05800-SC Document 283-2 Filed 10/30/10 Page 30 of 30
                                                                                                Statistics Report
                                                                                                                         October 29, 2010

3301 Kerner Blvd
San Rafael, CA 94901                                                                                                                                                                               Mailing Date: 6/2/2010
Case Administration Statistics - CONFIDENTIAL                                                                                                                                          Total Notice Packets Sent:   458
Case Name - Loretz et al v. Regal Stone Limited, et al (LRETZ)                                                                                                                               Exclusion Deadline: 7/19/2010
                                                                                                                                                                                             Objection Deadline: 8/13/2010
Case Manager:              Rachel Christman                                 Plaintiffs' Counsel                              Defense Counsel                   Earliest Possible Skipper Claims Filing Deadline: 3/2/2011
Direct Telephone:          (415) 458-3603                                   Adel Nadji, Esq.                                 Joseph AWalsh               Earliest Possible Crewmember Claims Filing Deadline: 11/2/2010
Facsimilie:                (415) 256-9756                                   William M. Audet, Esq.                           Julie L Taylor
Email:                     rachel.christman@gilardi.com                     Audet & Partners LLP                             Julie A Kole
                                                                            Stuart Gross, Esq.                               Keesal, Young & Logan
                                                                            Cotchett Pitre & McCarthy

                                                                               Returned Undeliverable
                                        Notification Mailings                                                                  Claim Forms Received                     Exclusion Requests                Objections
                                                                                       Mail
                                 Mailed
                                                                                                                 Timely                        Timely      Late
                 As of:          Notice          RUM 1         Remails 2        Searched       Remailed                      Late Skipper                               Timely        Late          Timely         Late
                                                                                                                 Skipper                    Crewmember Crewmember
                                 Packets
               6/22/2010          458               4              0                0              0                1             N/A              5      N/A             0            N/A            0            N/A
               6/29/2010            ~              37              0                0              0                0             N/A              0      N/A             0            N/A            0            N/A
               7/9/2010             ~               0              3                0              0                1             N/A              7      N/A             0            N/A            0            N/A
               7/15/2010            ~               0              0               41             17                1             N/A              2      N/A             0            N/A            0            N/A
               7/22/2010            ~               0              0                0              0                1             N/A              2      N/A             0             0             0            N/A
               7/29/2010            ~               0              0                0              0                0             N/A              0      N/A             0             0             0            N/A
               8/6/2010             ~               0              0                0              0                2             N/A              1      N/A             0             0             0            N/A
               8/19/2010            ~               0              0                0              0                1             N/A              0      N/A             0             0             0             0
               8/27/2010            ~               1              0                1              1                0             N/A              3      N/A             0             0             0             0
               9/3/2010             ~               0              0                0              0                1             N/A              1      N/A             0             0             0             0
               9/10/2010            ~               2              0                2              0                0             N/A              8      N/A             0             0             0             0
               9/17/2010            ~               0              0                0              0                0             N/A              1      N/A             0             0             0             0
               9/24/2010            ~               0              0                0              0                1             N/A              0      N/A             0             0             0             0
               9/30/2010            ~               1              0                1              0                1             N/A              0      N/A             0             0             0             0
               10/8/2010            ~               0              0                0              0                0             N/A              0      N/A             0             0             0             0
              10/15/2010            ~               0              0                0              0                0             N/A              1      N/A             0             0             0             0
              10/22/2010            ~               0              0                0              0                2             N/A              1      N/A             0             0             0             0
              10/29/2010            ~               0              0                0              0                0             N/A              4      N/A             0             0             0             0
               TOTAL:             458              45              3               45             18               12              0              36       0              0             0             0             0

                           Notes
                           1
                               RUM is an acronym for Returned Undeliverable Mail indicating mail returned by the United States Postal Service (USPS).
                           2
                               Remails are RUM returned with a forwarding address from the USPS which are remailed to the new address.
